Case 1:O4-cv-01253-RL.]-STA Document 18 Filed 05/03/05 Page 1 of 2 Page|D 31

IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
WILLIE CARNEY, )
)
Plaintiff, )
)
v. ) CIVIL ACTION NO. 04-1253-T-
) An
THE PROCTER & GAMBLE )
MANUFACTURTNG )
COMPANY, a corporation, )
)
Defendant. )

ORDER GRANIING MOTION FOR_EXTENSION (E` TIME
Det`endant Procter & Gamble’s motion for extension of time in which
to file its motion for summary judgment is hereby GRANTED. Procter &

Gamble shall file its motion for summary judgment Within 30 days after

Plaintiff has concluded its 30(b)(6) deposition(s) of Dcfendant. M M M

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So ordered this 3_ day of%%.

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This document entered on the docket sheet in compliance
with F|ule 58 and.‘or_79 (a) FRCP on

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

